                                      Case 6:13-cv-01834-MC                                   Document 1-1                         Filed 10/15/13                   Page 1 of 1

JS 44 (Rev. 12/12)                                                              CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I . (a) P L A I N T I F F S                                                                                      DEFENDANTS
Deanna L. Geiger and Janine M. Nelson, Robert Duehmig and William                                               John Kitzhaber, Governor, Ellen Rosenblum, Attorney General of
Griesar                                                                                                         Oregon, Jennifer Woodward, State Registrar, and Randy Waldruff,
                                                                                                                Multnomah County Assessor
      (b)    County of Residence of First Listed Plaintiff              Multnomah                                 County of Residence of First Listed Defendant                Marion
                                      (EXCEPTIN U.S. PLAINTIFF CASES)                                                                             (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                             IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                  NOTE:      THE TRACT OF LAND INVOLVED.


      (c)     Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)
Lake James H. Perriguey 503-227-1928
1906 SW Madison Street
Portland, OR 97205-1718

I I . BASIS OF J U R I S D I C T I O N              (Place an "X" in One Box Only)                  I I I . C I T I Z E N S H I P OF P R I N C I P A L P A R T I E S      (Place an "X" in One Box for Plaintiff
                                                                                                              (For Diversity Cases Only)                                     and One Box for Defendant)
O 1 U.S. Government                       i$ 3 Federal Question                                                                        PTF          DEF                                     PTF DEF
      Plaintiff                                  (U.S. Government Not a Party)                           Citizen of This State          O 1         • 1 Incorporated or Principal Place      0 4      O 4
                                                                                                                                                          of Business In This State

      2     U.S. Government               D 4     Diversity                                              Citizen of Another State         a 2        D 2      Incorporated and Principal Place    O   5    D 5
              Defendant                             (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                         Citizen or Subject of a          •   3      O    3   Foreign Nation                      a   6    a6
                                                                                                           Foreign Country


1               CONTRACT                                             TORTS '                                 FORFEITURE/PENALTY                          BANKRUPTCY                     O T H E R STATUTES          1

•     110 Insurance                         PERSONAL INJURY                 P E R S O N A L INJURY       • 625 Drag Related Seizure           •    422 Appeal 28 USC 158          •  375 False Claims Act
•     120 Marine                         O 310 Airplane                   O 365 Personal Injur)' -             of Property 21 USC 881         •    423 Withdrawal                 •  400 State Reapportionment
D     130 Miller Act                     • 315 Airplane Product                  Product Liability       O 690 Other                                   28 USC 157                 •  410 Antitrust
•     140 Negotiable Instrument                  Liability                • 367 Health Care/                                                                                      •  430 Banks and Banking
•     150 Recovery of Overpayment        • 320 Assault, Libel &                  Pharmaceutical                                                 PROPERTY RIGHTS                   •  450 Commerce
          & Enforcement of Judgment              Slander                        Personal Injury                                               • 820 Copyrights                    D  460 Deportation
•     151 Medicare Act                   • 330 Federal Employers'                Product Liability                                            D 830 Patent                        •  470 Racketeer Influenced and
•     152 Recovery of Defaulted                  Liability                • 368 Asbestos Personal                                             D 840 Trademark                            Corrupt Organizations
          Student Loans                  O 340 Marine                             Injury Product                                                                                  • 480 Consumer Credit
          (Excludes Veterans)            O 345 Marine Product                     Liability                          LABOR                         SOCIAL SECURITY                O 490 Cable/Sat TV
O     153 Recovery of Overpayment                Liability                 PERSONAL PROPERTY              O 710 Fair Labor Standards          •    861 HIA(1395ff)                • 850 Securities/Commodities/
          of Veteran's Benefits          O 350 Motor Vehicle              0 370 Other Fraud                      Act                          •    862 Black Lung (923)                  Exchange
•     160 Stockholders' Suits            D 355 Motor Vehicle              D 371 Truth in Lending          • 720 Labor/Management              O    863 DIWC/DIWW (405(g))         O 890 Other Statutory Actions
O     190 Other Contract                        Product Liability         • 380 Other Personal                   Relations                    O    864 SSID Title X V I           • 891 Agricultural Acts
D     195 Contract Product Liability     • 360 Other Personal                    Property Damage          O 740 Railway Labor Act             •    865 RSI (405(g))               • 893 Environmental Matters
O     196 Franchise                             Injury                    O 385 Property Damage           • 751 Family and Medical                                                D 895 Freedom of Infonnation
                                         D 362 Personal Injury -                 Product Liability               Leave Act                                                                Act
                                                Medical Malpractice                                       • 790 Otlier Labor Litigation                                           • 896 Arbitration
1         R E A L PROPERTY                   C I V I L RIGHTS              PRISONER PETITIONS             • 791 Employee Retirement             F E D E R A L T A X SUITS         0 899 Administrative Procedure
 D    210 Land Condemnation              • 440 Other Civil Rights           Habeas Corpus:                      Income Security Act           D 870 Taxes (U.S. Plaintiff                Act/Review or Appeal of
 O    220 Foreclosure                    D 441 Voting                     • 463 Alien Detainee                                                       or Defendant)                       Agency Decision
 O    230 Rent Lease & Ejectment         • 442 Employment                 • 510 Motions to Vacate                                             O 871 IRS—Third Party               59 950 Constitutionality of
 •    240 Torts to Land                  O 443 Housing/                         Sentence                                                             26 USC 7609                         State Statutes
 •    245 Tort Product Liability                Accommodations            • 530 General
 O    290 A l l Other Real Property       O 445 Amer. w/Disabilities -    • 535 Death Penalty                   IMMIGRATION
                                                Employment                  Other:                        • 462 Naturalization Application
                                          0 446 Amer. w/Disabilities -    D 540 Mandamus & Other          • 465 Other Immigration
                                                Other                     • 550 Civil Rights                    Actions
                                          O 448 Education                 • 555 Prison Condition
                                                                          • 560 Civil Detainee -
                                                                                Conditions of
                                                                                Confinement

V. ORIGIN               (Place an "A"' in One Box Only)
) ^ 1 Original                •     2 Removed from             •    3    Remanded from              •   4 Reinstated or      O     5 Transferred from         •   6 Multidistrict
      Proceeding                      State Court                        Appellate Court                  Reopened                   Another District               Litigation
                                                                                                                                     (specify)
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              42 USC 1983
 V I . C A U S E OF A C T I O N               Brief description of cause:
                                                Constitutional challenge to state law
 VII.        REQUESTED I N                    •     C H E C K I F T H I S IS A C L A S S A C T I O N          DEMANDS                                      C H E C K Y E S only if demanded in complaint:

             COMPLAINT:                             U N D E R R U L E 23, F.R.CV.P.                                                                        JURY DEMAND:                 • Yes      • No

 V I I I . R E L A T E D CASE(S)
                                                  (See instructions):
           IF ANY                                                         JUDGE                                                                    DOCKET NUMBER

    DATE
                                                                              SIGNATURRJOF ATTORNEY OF RECORD
               /.iS>/   f
    F O R O F F I C E USE O N L Y                                             LV^^^W^-
       RECEIPT #                       AMOUNT                                     APPLYING IFP                                                                         MAG. JUDGE
